Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 24-80116-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  RYAN WESLEY ROUTH,

         Defendant.
                                                      /

                ORDER DENYING DEFENDANT’S MOTION FOR RECUSAL

         THIS CAUSE comes before the Court upon Defendant Ryan Wesley Routh’s Motion to

  Recuse the undersigned (the “Motion”), filed on October 17, 2024 [ECF No. 48]. Defendant

  presumes my impartiality as a judicial officer but argues that recusal is warranted under the

  catch-all provision of the federal recusal statute, 28 U.S.C. § 455(a), and the Due Process Clause

  [ECF No. 48]. This is so, Defendant states, because a combination of circumstances creates an

  “appearance of partiality” due to the “unique facts and circumstances of this case” and my

  purported “relationship to the alleged victim” [ECF No. 48]. The United States opposes the

  Motion, maintaining that Defendant has failed to present a sufficient basis in law or fact to

  warrant recusal [ECF No. 52].       In Reply, Defendant reiterates his previously articulated

  arguments and advises of an additional matter which he states “could further add to the

  appearance of partiality”—namely, that I attended high school with one of the prosecutors in this

  case and attended his wedding nine years ago during my service as an Assistant United States

  Attorney in this district [ECF No. 62 p. 6].
Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 2 of 7

                                                                CASE NO. 24-80116-CR-CANNON


         Upon full review of the Motion, and fully advised in the premises, I see no proper basis

  for recusal. The Motion [ECF No. 48] is therefore DENIED.

                                       LEGAL STANDARDS

         Under the catch-all provision of the federal recusal statute on which Defendant relies,

  “[a]ny justice, judge, or magistrate judge of the United States shall disqualify himself in any

  proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C. § 455(a).

  “[W]hat matters under § 455(a) ‘is not the reality of bias or prejudice but its appearance.’”

  Microsoft Corp. v. United States, 530 U.S. 1301, 1302 (2000) (quoting Liteky v. United States,

  510 U.S. 540, 548 (1994)); see also Cheney v. U.S. Dist. Ct. for Dist. of Columbia, 541 U.S. 913,

  924 (2004); In re Evergreen Sec., Ltd., 570 F.3d 1257, 1263 (11th Cir. 2009). “This inquiry is an

  objective one, made from the perspective of a reasonable observer who is informed of all the

  surrounding facts and circumstances.” Microsoft Corp., 530 U.S. at 1302. Further, “[t]he

  decision whether a judge’s impartiality can ‘reasonably be questioned’ is to be made in light of

  the facts as they existed, and not as they were surmised or reported.” Cheney, 541 U.S. at 914

  (quoting Microsoft Corp., 530 U.S. at 1302); see id. at 916 (referencing consideration of

  “established principles and practices” in recusal inquiry).

         The Due Process Clause does not set forth a specific test governing recusal, but due

  process guarantees “an absence of actual bias on the part of the judge.”            Williams v.

  Pennsylvania, 579 U.S. 1, 8 (2016) (internal quotation marks omitted). “Recusal is required

  when, objectively speaking, ‘the probability of actual bias on the part of the judge or

  decisionmaker is too high to be constitutionally tolerable.’” Rippo v. Baker, 580 U.S. 285, 287

  (2017) (quoting Withrow v. Larkin, 421 U.S. 35, 47 (1975)); see also Williams, 579 U.S. at 4.




                                                   2
Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 3 of 7

                                                                CASE NO. 24-80116-CR-CANNON


                                            DISCUSSION

         Defendant cites a series of factors which he believes, when viewed in their totality, create

  an appearance of partiality. None warrants recusal, whether examined individually or together.

         First, Defendant notes the historical fact that I was nominated to serve as a United States

  District Judge by the alleged victim in this case, former President Donald J. Trump, and later

  confirmed by the United States Senate. See U.S. Const. art. II, § 2. As Defendant correctly

  acknowledges, “this fact is by no means disqualifying” [ECF No. 48 p. 5].            Indeed, it is

  understood that appointment to the bench by a litigant, or in this case by an alleged victim, does

  not, without more, “create in reasonable minds, with knowledge of all the relevant circumstances

  that a reasonable inquiry would disclose, a perception that [the judge’s] ability to carry out

  judicial responsibilities with integrity, impartiality, and competence would be impaired.” In re

  Exec. Off. of President, 215 F.3d 25, 25 (D.C. Cir. 2000). This principle does not change

  because of the “unprecedented nature of this scenario,” as Defendant notes, or because a judge’s

  rulings “are likely to face intense public scrutiny” [ECF No. 48 pp. 1, 6].

         Second, Defendant argues that recusal is warranted because former President Trump has

  made various public statements about me [ECF No. 48 pp. 6–8; ECF No. 62 p. 5]. As Defendant

  acknowledges, I have no control over what private citizens, members of the media, or public

  officials or candidates elect to say about me or my judicial rulings [see ECF No. 48 p. 7]. Nor

  am I concerned about the political consequences of my rulings or how those rulings might be

  viewed by “some in the media” [ECF No. 48 p. 7]. I have never spoken to or met former

  President Trump except in connection with his required presence at an official judicial

  proceeding, through counsel. I have no “relationship to the alleged victim” in any reasonable

  sense of the phrase [ECF No. 48 p. 1]. I follow my oath to administer justice faithfully and



                                                   3
Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 4 of 7

                                                               CASE NO. 24-80116-CR-CANNON


  impartially, in accordance with the Constitution and the laws of this country. 28 U.S.C. § 453.

  And Defendant has identified no practice, much less an established practice, warranting a judge’s

  recusal because a party, witness, or alleged victim in a judicial proceeding makes public

  statements—positive or negative—about a judge who lacks any control over such statements.

         Third, Defendant makes speculative references to the “prospect of a judicial promotion,”

  suggesting that such a prospect “could arguably affect this Court’s ability to be impartial in this

  case” [ECF No. 48 p. 8]. “The decision whether a judge’s impartiality can ‘reasonably be

  questioned’ is to be made in light of the facts as they existed”—“not as they were surmised or

  reported.” Cheney, 541 U.S. at 914. Equally important, a judge should not recuse herself based

  on “highly tenuous speculation,” United States v. Greenough, 782 F.2d 1556, 1558 (11th Cir.

  1986), or operate on “rumors” and “innuendos” in publicized cases, id. (quoting In re United

  States, 666 F.2d 690, 695 (1st Cir. 1981)). Stripped of such speculation, the Motion fails to cite

  any objective facts warranting a reasonable inference of partiality or bias under applicable legal

  principles.

         Fourth, pointing to media rumors, Defendant says that “[r]ecusal would remove any

  public perception that Mr. Trump’s cases have [been] assigned to this Court in a non-random

  manner” [ECF No. 48 p. 9; see ECF No. 62 p. 3]. This presents no ground for recusal. Recusal

  is an objective inquiry from the perspective of a “reasonable observer who is informed of all the

  surrounding facts and circumstances.” Microsoft Corp., 530 U.S. at 1302 (emphasis added).

  This case, like the prior cited cases involving former President Trump, were randomly assigned

  to me through the Clerk’s random case assignment system. Period. I will not be guided by

  highly inaccurate, uninformed, or speculative opinions to the contrary. Greenough, 782 F.2d at

  1558 (“[A] judge, having been assigned to a case, should not recuse himself on unsupported,



                                                  4
Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 5 of 7

                                                               CASE NO. 24-80116-CR-CANNON


  irrational, or highly tenuous speculation. If this occurred the price of maintaining the purity of

  the appearance of justice would be the power of litigants or third parties to exercise a veto over

  the assignment of judges.”).

         Fifth, Defendant refers to two judicial proceedings in which, quoting from the Motion, I

  issued “some rulings that were favorable” to former President Trump [ECF No. 62 p. 3]. As

  Defendant agrees, however, a judge’s rulings in “the same or a related case” generally do not

  serve as the basis for a recusal motion. See McWhorter v. City of Birmingham, 906 F.2d 674,

  678 (11th Cir. 1990); [see ECF No. 62 p. 4]. An exception to this general rule exists when the

  movant demonstrates “pervasive bias and prejudice.” Id. (internal quotation marks omitted);

  United States v. Chandler, 996 F.2d 1073, 1104 (11th Cir. 1993), as modified (Sept. 30, 1993),

  aff’d, 218 F.3d 1305 (11th Cir. 2000) (en banc). To the extent this case can even be said to

  qualify as a “same or related” case as compared to the cited cases involving former President

  Trump—a strained assumption to begin with—the Motion presents no facts or law warranting a

  departure from the general rule of no recusal, much less the “pervasive bias and prejudice”

  necessary to trigger the exception to the general rule. 1



  1
    The first case was a civil action in which former President Trump, as Plaintiff, sought the return
  of property in a pre-indictment posture and other related relief, including the appointment of a
  special master to review materials seized by federal law enforcement officials following a search
  of his residence in connection with a criminal investigation. See S.D. Fla. No. 22-81294-
  CANNON. That case was dismissed for lack of jurisdiction in December 2022 following the
  Eleventh Circuit’s decision vacating my exercise of equitable jurisdiction. See Trump v. United
  States, 54 F.4th 689 (11th Cir. 2022). The second case, currently on appeal, is a criminal
  proceeding in which former President Trump is charged with unlawful retention of classified
  information and various obstruction-related offenses stemming, in part, from documents seized
  during the prior search of his residence. See S.D. Fla. No. 23-80101-CANNON. The instant
  case, by contrast, presents obviously distinct charges and allegations involving the attempted
  assassination of former President Trump as a major presidential candidate, along with additional
  firearm-related allegations [ECF No. 21 (Indictment)]. Defendant offers nothing to suggest that
  the presence of a common party or alleged victim, standing alone, warrants a “same or related”
  case designation for purposes of recusal or any other analysis. Cf. Fed. R. Crim. P. 8 (addressing
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Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 6 of 7

                                                                CASE NO. 24-80116-CR-CANNON


           Finally, Defendant identifies as an “additional matter” that I went to high school in the

  1990s with one of the prosecutors assigned to this case and attended his wedding nine years ago

  while serving together as Assistant United States Attorneys in this district [ECF No. 62]. 2 This

  factor does not supply a basis from which a reasonable observer—equipped with all of the facts

  and circumstances—would question my impartiality. I maintained a professional friendship with

  the stated prosecutor during my time as a prosecutor (2013–2020), as I did with other colleagues

  within the United States Attorneys’ Office. As part of that professional friendship, I attended his

  wedding nearly a decade ago. I maintain no ongoing personal relationship with the prosecutor,

  nor have I communicated with him in years. In short, my personal friendship years ago with the

  prosecutor has no bearing or influence whatsoever on my impartial handling of this case or any

  other case in which he may appear as counsel of record. Nor has Defendant cited any authority

  to support the notion that a judge with former government service should recuse from a matter

  because, years later, a former colleague with whom the judge maintained a professional

  friendship appears in a case before her. That broad rule, absent more, would be destabilizing,

  and in any event, it does not supply a basis on this record to support disqualification.




  joinder of offenses or defendants where offenses charged “are of the same or similar character, or
  are based on the same act or transaction, or are connected with or constitute parts of a common
  scheme or plan”); Fed. R. Civ. P. 42 (permitting consolidation of actions “involv[ing] a common
  question of law or fact”); S.D. Fla. I.O.P. 2.15.00 (addressing transfer of similar actions
  “[w]henever an action or proceeding is filed in the Court which involves subject matter which is
  a material part of the subject matter of another action or proceeding then pending before this
  Court, or for other reasons the disposition thereof would appear to entail the unnecessary
  duplication of judicial labor”).
  2
      I graduated from a Florida high school in 1999. I believe the prosecutor graduated in 2000.
                                                    6
Case 9:24-cr-80116-AMC Document 66 Entered on FLSD Docket 10/29/2024 Page 7 of 7

                                                               CASE NO. 24-80116-CR-CANNON


                                           CONCLUSION

            Upon a full review of the Motion, the specific factual circumstances presented, and the

  applicable law, I see no valid basis for recusal under 28 U.S.C. § 455 or the Due Process

  Clause. 3 The Motion [ECF No. 48] is accordingly DENIED.

            DONE AND ORDERED in Chambers in Fort Pierce, Florida, this 29th day of October

  2024.



                                                       _____________________________ __
                                                       AILEEN M. CANNON
                                                       UNITED STATES DISTRICT JUDGE



      cc:    counsel of record




  3
   Defendant focuses the Motion on the catch-all provision in 28 U.S.C. § 455(a), referencing the
  Due Process Clause in general terms. Insofar as additional analysis is required to address the
  Due Process Clause specifically, the record contains no objective evidence of any actual bias or
  probability of actual bias. See, e.g., Rippo, 580 U.S. at 287.
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